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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MICHIGAN


  UNITED STATES OF AMERICA,                          )
                                                     )
                                                     )   CRIMINAL NO. 05-80955-02
  vs.                                                )
                                                     )   HON. DAVID M. LAWSON
                                                     )
  DEMETRIUS EDWARD FLENORY,                          )
                                                     )
  Defendant.                                         )


                   MOTION AND BRIEF FOR REDUCTION OF SENTENCE
                               PURSUANT TO 18 U.S.C. § 3582(c)(2)

         Now comes DEMETRIUS EDWARD FLENORY, by and through his undersigned

  counsel, and in support of his Motion for Reduction of Sentence Pursuant to 18 U.S.C. § 3582(c)(2)

  states as follows:

         1. On November 19, 2007, Mr. Flenory pled guilty to Continuing Criminal Enterprise

               (CCE) in violation of 21 U.S.C. § 848 and Conspiracy to Launder Money Instruments

               in violation of 18 U.S.C. § 1956. ECF No. 852.

         2. His plea was taken pursuant to a Rule 11 agreement contemplating a sentencing

               guideline range of 360 months to life based on a total offense level of 42 and a criminal

               history category of II.

         3. On September 12, 2008, Mr. Flenory was sentenced to a term of 360 months’

               imprisonment – the bottom of the guideline range.

         4. Mr. Flenory is presently serving his sentence at Sheridan FCI and is scheduled for

               release on November 25, 2031.

         5. 18 U.S.C. § 3582(c)(2) allows a reduction in a defendant’s term of imprisonment where
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          the guideline range applicable to that defendant has subsequently been lowered as a

          result of an amendment to the Guidelines Manual. See also §1B1.10(1) of the

          Sentencing Guidelines Manual.

       6. In April 2014, the United States Sentencing Commission passed Amendment 782 of

          the United States Sentencing Guidelines (USSG), which generally revised the drug

          quantity and chemical quantity tables for all drug offenses by reducing the base offense

          levels by two.

       7. On July 18, 2014, the Sentencing Commission voted unanimously that Amendment

          782 should be applied retroactively to all drug cases prior to November 1, 2014.

       8. Mr. Flenory meets the criteria for a sentence reduction under USSG Amendments 782

          and 788. The provisions of §1B1.10 of the Sentencing Guidelines Manual allows the

          Court to apply the two-level reduction to Mr. Flenory’s sentencing guideline range.

       9. At the time of the guilty plea, Mr. Flenory’s guideline range was based on a total

          offense level of 42 and a criminal history category of II. A two-level reduction results

          in a new total offense level of 40, yielding a guideline range of 324 to 405 months.

       10. Taking into account the policy statement set forth in USSG § 1B1.10 and the sentencing

          factors set forth in 18 U.S.C. § 3553(a), to the extent they are applicable, this Court has

          the authority to reduce Mr. Flenory’s sentence.

       11. On December 13, 2017, the Court granted Terry Flenory’s – the brother of Mr. Flenory,

          who is currently before this Court – motion for a sentence reduction pursuant to 18

          U.S.C. § 3582(c)(2). ECF No. 1577. Terry Flenory’s sentence was reduced from 360

          months to the bottom of his revised guideline range of 292 months.

       12. At this point, Mr. Flenory has been incarcerated for nearly 16 years. Not only is Mr.
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            Flenory eligible for relief, but he has earned it. He has demonstrated strong

            commitment to rehabilitation during his incarceration. Mr. Flenory obtained his GED

            and successfully completed a twenty-four month Special Management Unit (SMU)

            Program. Successful completion of the SMU Program requires strict adherence to the

            rules and regulations of the unit. Mr. Flenory did not incur any infractions during this

            intense program. Mr. Flenory has also completed parenting classes, health awareness

            classes, money management classes and a 40 hour drug treatment program offered by

            the Bureau of Prisons. Importantly, Mr. Flenory has maintained strong, positive

            relationships with his son and family continuously throughout his incarceration.

         13. A sentence reduction for Mr. Flenory would not pose any threat to public safety. Mr.

            Flenory, who has not been convicted of a crime of violence, does not have an assaultive

            or violent criminal record.

         WHEREFORE, for these reasons, Mr. Flenory respectfully asks the Court to grant his

  Motion for Reduction of Sentence Pursuant to 18 U.S.C. § 3582(c)(2), and reduce his sentence to

  324 months.


                                                             Respectfully submitted,

                                                             /s/ Brittany K. Barnett
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  Date: June 2, 2021
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                                     CERTIFICATE OF SERVICE

            I hereby certify that on June 2, 2021, I electronically filed the foregoing with the Clerk of

  Court using the CM/ECF system which will send a notice of electronic filing to all counsel of

  record.


                                                                  /s/ Brittany K. Barnett
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